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 1
         ROGER D. WILSON SBN: 192207
 2      LAW OFFICE OF ROGER D. WILSON
                 2377 West Shaw Avenue, Suite 208
                      Fresno, California 93711
 3                  Telephone: (559) 233-4100
                     Facsimile: (559) 746-7200
 4                 Email: roger@wilson-law.com

 5
                                        UNITED STATES DISTRICT COURT
 6
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                          Case No. 1:15-cr-00234 DAD BAM
 9
                           Plaintiff,
10
            v.                                       WAIVER OF APPEARANCE; ORDER.
11
     SHANNE LEAVELL,
12
                           Defendant.
13

14
            TO THE UNITED STATES DISTRICT COURT; UNITED STATES
15
     ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:
16
            Defendant SHANNE LEAVELL by and through his attorney, ROGER D. WILSON,
17
     hereby applies to this Court for an Order waiving his appearance at the Trial Confirmation
18
     hearing currently scheduled for April 3, 2017 at 10:00 a.m., before the Honorable Judge Dale A.
19
     Drozd. This request is made because Mr. Leavell was recently ordered released from custody to
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     participate in an inpatient addiction recovery program and will be in a “black out” period whereby
21
     he will not be permitted to leave the recovery center. Further, his appearance at the next hearing
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     will not be required as it is not a dispositive motion hearing and therefore, in all likelihood, a
23
     further status hearing will be scheduled at the next hearing.
24
            Mr. Leavell has maintained regular and routine contact with his counsel, and gives his
25
     counsel full authority to act on his behalf at the next hearing. Mr. Leavell has discussed the
26
     upcoming hearing with counsel and is satisfied that all relevant matters have been adequately
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     reviewed and explained.
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 2            Lastly, Mr. Leavell’s counsel has discussed this waiver of appearance with counsel for the

 3   Government, who had no objection.

 4            It is hereby requested that Defendant SHANNE LEAVELL’S appearance at the April 3,

 5   2017, Trial Confirmation hearing be excused.

 6            Respectfully submitted,

 7   Dated:        March 22, 2017          By:                   /s/ Roger D. Wilson
 8                                                             ROGER D. WILSON
                                                    Attorney for Defendant SHANNE LEAVELL
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12                                                ORDER
13            Defendant SHANNE LEAVELL’S request for a waiver of appearance came before this
14   Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS AS
15   FOLLOWS:
16            Defendant SHANNE LEAVELL is hereby excused from appearing at the Status
17   Conference currently scheduled April 3, 2017, at 10:00 a.m.
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19   IT IS SO ORDERED.

20      Dated:      March 23, 2017
                                                          UNITED STATES DISTRICT JUDGE
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